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Transfer Pricing Services




Gazelle University
Transfer Pricing Report
For the Fiscal Year Ending December 31, 2018
DRAFT – For Discussion Purposes Only




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